 Case 2:24-cr-00629-TJH       Document 25   Filed 12/23/24   Page 1 of 3 Page ID #:87




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     Federal Public Defender
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3    IBOH UMODU (FL. Bar No. 1025737)
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6
     Attorneys for Defendant
7    NATHANIEL JAMES MCGUIRE
8
9                             UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                      Case No. 24-CR-629-TJH
13               Plaintiff,                         EX PARTE APPLICATION FOR
14         v.                                       ORDER RELIEVING FEDERAL
                                                    PUBLIC DEFENDER AND
15   NATHANIEL JAMES MCGUIRE,                       APPOINTING CJA PANEL
16               Defendant.                         COUNSEL; DECLARATION
17
18
19         Deputy Federal Public Defenders Erica Choi and Iboh Umodu, counsel for
20   Defendant Nathaniel James McGuire, hereby apply pursuant to Local Criminal Rule
21   44-1 for an order relieving the Federal Public Defender and appointing a CJA Panel
22   Attorney to represent Mr. McGuire based on a conflict of interest.
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 Case 2:24-cr-00629-TJH     Document 25     Filed 12/23/24   Page 2 of 3 Page ID #:88




1          This application is based on the attached Declaration, all files and records in this
2    case, and such further information as may be provided to the Court with respect to this
3    application.
4
5                                           Respectfully submitted,
6                                           CUAUHTEMOC ORTEGA
                                            Federal Public Defender
7
     DATED: December 23, 2024                 /s/ Erica Choi
8                                           ERICA CHOI
9                                           IBOH UMODU
                                            Deputy Federal Public Defenders
10                                          Attorneys for NATHANIEL JAMES MCGUIRE
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 Case 2:24-cr-00629-TJH       Document 25     Filed 12/23/24   Page 3 of 3 Page ID #:89




1                                         DECLARATION
2          I, Erica Choi, hereby state and declare as follows:
3          1.       I am an attorney with the Office of the Federal Public Defender for the
4    Central District of California and have been appointed to represent Nathaniel James
5    McGuire in the above-entitled action.
6          2.       Mr. McGuire is charged with use of a weapon of mass destruction,
7    destruction of a building using an explosive, and possession of an unregistered
8    destructive device. Jury trial is scheduled for September 9, 2025.
9          3.       After internal discussion, the Office of the Federal Public Defender has
10   determined it has a conflict of interest preventing it from continuing its representation
11   of Mr. McGuire. On December 20, 2024, Federal Public Defender Deputy Chief Amy
12   Karlin determined that a conflict of interest exists and that ethical considerations
13   require withdrawal.
14         4.       I am respectfully requesting the Federal Public Defender be relieved and
15   that a CJA panel attorney be appointed for Mr. McGuire. A proposed order is lodged
16   concurrently herewith and no hearing is requested. I will inform Mr. McGuire that this
17   application is being filed, and mail a copy of the application to him today.
18         5.       On December 21, 2024, Deputy Federal Public Defender Erica Choi
19   advised Assistant United States Attorneys Mark Takla and Kathrynne Seiden that the
20   Federal Public Defender would seek to be relieved from the case and request CJA
21   counsel be appointed based upon a conflict of interest. As of the time of this filing, the
22   government has not indicated if it has any objection to the ex parte filing of this
23   application.
24         I declare under penalty of perjury that the foregoing is true and correct to the best
25   of my knowledge.
26
27   DATED: December 23, 2024                 /s/ Erica Choi
28                                           ERICA CHOI

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